                             NO. 07-10-00142-CV

                           IN THE COURT OF APPEALS

                      FOR THE SEVENTH DISTRICT OF TEXAS

                                 AT AMARILLO

                                   PANEL D

                               APRIL 23, 2010




                             KYLE DEAN MERCHANT,


                                   Appellant
                                     v.


                             THE STATE OF TEXAS,


                                    Appellee
                        _____________________________

               FROM THE 12TH DISTRICT COURT OF WALKER COUNTY;

               NO. 21,760; HONORABLE DONALD KRAEMER, PRESIDING



                            On Motion to Dismiss



Before QUINN, C.J., and CAMPBELL and PIRTLE, JJ.


      Appellant Kyle Dean Merchant has filed a pro se motion to dismiss  his
appeal because he no longer desires to prosecute  it.   Without  passing  on
the merits of the case, we grant the motion to  dismiss  pursuant  to  Texas
Rule  of  Appellate  Procedure  42.2(a)  and  dismiss  the  appeal.   Having
dismissed the appeal at appellant's request, no motion  for  rehearing  will
be entertained, and our mandate will issue forthwith.



                                       Per Curiam



